                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF TENNESSEE
                                AT GREENEVILLE


UNITED STATES OF AMERICA                           )
                                                   )
v.                                                 )      No. 2:14-CR-006
                                                   )
JORDAN JOHNSON                                     )

                             MEMORANDUM AND ORDER

               Following the defendant’s unsuccessful efforts to withdraw his guilty plea,

this case is before the court on the “United States’ Motion to Eliminate Reduction for

Acceptance of Responsibility” [doc. 98]. That motion will be granted.

               On April 22, 2014, the defendant pled guilty to conspiring to make and

possess counterfeit Federal Reserve notes. In material part, the plea agreement provides,

        Given the defendant’s agreement to plead guilty, the United States will not
        oppose a two-level reduction for acceptance of responsibility under the
        provisions of Section 3E1.1(a) of the Sentencing Guidelines. . . . Should
        the defendant engage in any conduct or make any statements that are
        inconsistent with accepting responsibility for the defendant’s offense(s) . . .
        the United States . . . will be free to recommend to the Court that the
        defendant not receive any offense level reduction for acceptance of
        responsibility under Section 3E1.1 of the Sentencing Guidelines.

[Doc. 32, ¶ 7].

               The United States Probation Office has prepared and disclosed a

Presentence Investigation Report (“PSR”) [doc. 134], recommending a two-level

reduction in the defendant’s offense level for acceptance of responsibility under guideline

3E1.1(a). See U.S. Sentencing Guidelines Manual § 3E1.1(a) (2013) (“If the defendant




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clearly demonstrates acceptance of responsibility for his offense, decrease the offense

level by 2 levels.”).

       Entry of a plea of guilty prior to the commencement of trial combined with
       truthfully admitting the conduct comprising the offense of conviction, and
       truthfully admitting or not falsely denying any additional relevant conduct
       for which he is accountable . . . will constitute significant evidence of
       acceptance of responsibility for the purposes of subsection (a). However,
       this evidence may be outweighed by conduct of the defendant that is
       inconsistent with such acceptance of responsibility. A defendant who
       enters a guilty plea is not entitled to an adjustment under this section as a
       matter of right.”

Id. § 3E1.1 cmt. n.3 (emphases added).

              Application Note 1 to Guideline 3E1.1 offers a non-exhaustive list of

factors for use in determining whether a defendant has clearly demonstrated acceptance

of responsibility. The court has considered those factors to the extent relevant. In the

defendant’s favor, it is noted that he was the first of the conspirators in this case to enter a

guilty plea. When interviewed by the probation officer, the defendant admitted his

involvement in the offense. Further, the court has reviewed the letter recently submitted

by the defendant [doc. 132, ex.1], in which he expresses both acceptance and remorse. It

is the court’s hope that those expressions are sincere, but the defendant’s criminal history

and conduct in the present case cause the letter to be read with a degree of skepticism.

              Ultimately, the present defendant’s conduct in moving to withdraw his plea

outweighs his prior and subsequent admissions of guilt.            In his pro se motion the

defendant contended, “I was forced to plea [sic] guilty to something I am truely [sic]

innocent of. . . . I’m innocent of this crime.” [Doc. 66]. By order dated September 12,

2014, the court denied that motion, describing the defendant’s claims as “dubious” and

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unbelievable. [Doc. 106]. Those claims (most particularly the allegation that his attorney

and his cousin were conspiring against him) wasted considerable resources of both this

court and the prosecuting attorney.

              “An improper motion to withdraw a guilty plea is sufficient basis for

withholding a finding of acceptance of responsibility.” United States v. Silva, 122 F.3d

412, 416 n.1 (7th Cir. 1997) (citation omitted); accord United States v. Armendariz Soto,

660 F.3d 1264, 1266-67, 1269 (10th Cir. 2011). The court will deny acceptance of

responsibility credit in this case due to the defendant’s frivolous attempt to withdraw his

guilty plea. With that adjustment, the defendant’s total offense level will be 15, and his

advisory guideline range will be 37 to 46 months.

              The “United States’ Motion to Eliminate Reduction for Acceptance of

Responsibility” [doc. 98] is GRANTED. Sentencing remains set for November 6, 2014,

at 10:00 a.m. in Greeneville.

              IT IS SO ORDERED.

                                                        ENTER:



                                                               s/ Leon Jordan
                                                         United States District Judge




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